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                   UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
             Form 1. Notice of Appeal from a Judgment or Order of a
                           United States District Court
Name of U.S. District Court:                 District Court of Oregon

U.S. District Court case number: 3:17-CV-1240-SI

Date case was first filed in U.S. District Court: 08/09/2017

Date of judgment or order you are appealing:                       07/17/2019
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Foster Wheeler LLC




Is this a cross-appeal?          Yes           No
If Yes, what is the first appeal case number?

Was there a previous appeal in this case?                      Yes           No
If Yes, what is the prior appeal case number?

Your mailing address:
One Convention Place,

701 Pike Street, Suite 1575

City: Seattle                                 State: WA               Zip Code: 98101

Prisoner Inmate or A Number (if applicable):

Signature       s/Christopher S. Marks                                  Date Aug 15, 2019
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                                                                          Rev. 12/01/2018
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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Foster Wheeler LLC


Name(s) of counsel (if any):
Christopher S. Marks, Tanenbaum Keale LLP



Address: One Convention Place, 701 Pike Street, Suite 1575, Seattle, WA 98101
Telephone number(s): (206) 889-5150
Email(s): cmarks@tktrial.com; seattle.asbestos@tktrial.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes         No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
Melissa Coury


Name(s) of counsel (if any):
Jeffrey S. Mutnick, Law Office of Jeffrey S. Mutnick



Address: 737 SW Vista Avenue, Portland, OR 97205
Telephone number(s): (503) 595-1033
Email(s): jmutnick@mutnicklaw.com


To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                                1                                        New 12/01/2018
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Continued list of parties and counsel: (attach additional pages as necessary)
Appellants
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
Is counsel registered for Electronic Filing in the 9th Circuit?                               Yes     No
Appellees
Name(s) of party/parties:
Melissa Coury

Name(s) of counsel (if any):
Elizabeth Schwartz


Address: 6312 SW Capitol Hwy, #175, Portland, OR 97239
Telephone number(s): (503) 452-5368
Email(s): schwartz.libby@gmail.com
Name(s) of party/parties:



Name(s) of counsel (if any):



Address:
Telephone number(s):
Email(s):
                  Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                               2                                         New 12/01/2018
